   Case: 1:20-cv-00799-MWM Doc #: 27 Filed: 02/25/22 Page: 1 of 1 PAGEID #: 254



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION – CINCINNATI

AMY JACKSON,                            :       Case No. 1:20-cv-799
                                        :
                  Plaintiff,            :       Judge Matthew W. McFarland
                                        :
            v.                          :
                                        :
RELIANCE CONSTRUCTION                   :
SERVICES, LLC,                          :
                                        :
                  Defendant.            :
______________________________________________________________________________

                    CONDITIONAL ORDER OF DISMISSAL
______________________________________________________________________________

      The Court, having been advised by Magistrate Judge Stephanie Bowman that this

matter has settled, ORDERS that this action is hereby DISMISSED with prejudice,

provided that any of the parties may, upon good cause shown within forty-five (45) days,

move to reopen the action if settlement is not consummated. Also, if desired, the parties

may timely move to substitute a judgment entry contemplated by the settlement

agreement.

      The Court expressly and explicitly retains jurisdiction to enforce the settlement

agreement of the parties.

      IT IS SO ORDERED.

                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF OHIO


                                            By:       /s/ Matthew W. McFarland
                                                  JUDGE MATTHEW W. McFARLAND
